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                                                                                  Pulaski County Circuit Court
                                                                                Larry Crane, Circuit/County Clerk
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         IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                            ___ DIVISION

ANGELA MOODY                                                          PLAINTIFF

VS.                    CASE NO.: 60CV-2017-_________

JAMES R. FLENS                                                        DEFENDANT

                                      COMPLAINT

       Plaintiff, by and through counsel, for her Complaint against Defendant states:

       1.      Plaintiff Angela Moody is an individual and resident of Pulaski County,

Arkansas.

       2.      Defendant James R. Flens (“Flens”) is a citizen and resident of Valrico

Florida. Defendant has traveled to Arkansas, was retained and served as an expert in

Arkansas and gave a deposition in Arkansas.

       3.      Jurisdiction and venue are proper with this Court.

       4.      The defendant holds himself out as being a board certified psychologist.

       5.      Despite never meeting with, consulting with or personally evaluating

plaintiff, the defendant’s prepared a document titled "Consultation Report and Findings

and Recommendations" in 2014. In said document, defendant made certain "findings and

recommendations" that were false and inaccurate as to plaintiff.

       6.      The specific "findings and recommendations" made in the report by

defendant are wholly inaccurate and, if published publicly, would be defamatory in

nature. The findings are not being set out herein as they could cause reputational damage

to plaintiff, even though the findings are false and inaccurate.

       7.      On September 24, 2014, defendant sent the document (his report) to

plaintiff's ex-husband. As a result, plaintiff suffered damage in the form of attorneys
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fees and court costs due to the ex-husband using the false, inaccurate and misleading

report in their divorce and custody case.

        8.      The defendant was negligent in his preparation and drafting of the

document (his report).

                                COUNT I – NEGLIGENCE

        9.      Defendant's was negligent in his formulation of his findings and

recommendations contained in his report, and was further negligent in submitting said

report to plaintiff's ex-husband on September 24, 2014. As a result of defendant's

negligence plaintiff has been damaged in a specific amount to be determined at trial.

        10.     Plaintiff seeks an award of compensatory damages and a judgment of and

from defendant in an amount to be determined at trial.

     COUNT II - DECLARATORY JUDGMENT AND INJUNCTIVE RELIEF

        11.     The continued use of the false and inaccurate report by defendant and

plaintiff's ex-husband will cause irreparable harm to plaintiff.

        12.     Plaintiff seeks judgment declaring the report to be false and inaccurate.

Further, plaintiff seeks and order enjoining defendant from any further dissemination of

said report.

        13.     Plaintiff seeks an award of attorneys fees and costs.



WHEREFORE, plaintiff moves and prays that its complaint be admitted; for judgment of

and from defendant; for an injunction and declaratory judgment; for court costs and

attorneys fees and for all other just and proper relief to which it is entitled.
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                                    RESPECTFULLY SUBMITTED:

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